IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

CHARLES NILGES, individually and on Case No. 4:21-cv-00575-JMB
behalf of all others similarly situated,

Plaintiff,
v.

LIGHTFIRE PARTNERS LLC, a Missouri
company,

Defendant,

 

 

NOTICE OF SETTLEMENT
Plaintiff Charles Nilges hereby notifies the Court that the parties have reached an
agreement in principle to resolve this matter. The parties anticipate filing a Notice of Dismissal
of the action with prejudice as to the Plaintiff's individual claim within 30 days. Accordingly,
Plaintiff respectfully requests that all current deadlines be suspended pending the filing of the

Notice of Dismissal.

Date: August 3, 2021 Respectfully submitted,

By: /s/ Mark Dean
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